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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

CENTER FOR BIOLOGICAL DIVERSITY,                       )
                                                       )
                       Plaintiff,                      )   Case No. 1:21-cv-884-EGS
                                                       )
       v.                                              )   NOTICE OF SUPPLEMENTAL
                                                       )   AUTHORITY
UNITED STATES FISH AND WILDLIFE                        )
SERVICE, et al.,                                       )
                                                       )
                       Defendants.                     )
                                                       )


       Federal Defendants herein notify the Court of a recent decision relevant to Westlands

Water District’s May 5, 2021, motion to intervene in this proceeding.1 ECF No. 11 (“Motion”).

Both Federal Defendants and Plaintiff Center for Biological Diversity opposed the Motion. ECF

Nos. 12, 13. Briefing completed on May 26, 2021, when Westlands Water District filed its reply

in support of its Motion. ECF No. 17.

       Meanwhile, on the same date in the District Court for the Northern District of California,

Westlands Water District filed a nearly identical motion to intervene in a case involving

substantially similar claims against the same Federal Defendants regarding one of the ten species

at-issue in this litigation, the Longfin Smelt distinct population segment. See San Francisco

Baykeeper v. U.S. Fish and Wildlife Service, et al., No. 3:21-cv-2566 (N.D. Cal.) at ECF No. 13

(“California Motion”).2 Federal Defendants opposed Westlands Water District’s California


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  Federal Defendants provide this notice even though they and Plaintiff have jointly moved to
have this case referred to mediation and for a stay. ECF No. 20. The Court has not yet ruled on
that motion, and Westlands Water District filed a response to it asking the Court to first decide
Westlands’ Motion to Intervene and allow Westlands to participate in the mediation. ECF No 21.
2
 Plaintiff in the California case filed a notice on April 13, 2021 relating that case to this one. San
Francisco Baykeeper v. U.S. Fish and Wildlife Service, et al., No. 3:21-cv-2566 at ECF No. 6
(Notice of Pendency of Other Action or Proceeding).

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Motion, id. at ECF No. 19, and a hearing on the California Motion was held before Magistrate

Judge Joseph Spero on July 30, 2021.

       On August 5, 2021, Judge Spero entered an order denying Westlands Water District’s

California Motion. Id. at ECF No. 32 (attached hereto as Exhibit 1 and also available at

2021 WL 3426961). The Court held that “Westlands fail[ed] to establish the second or third

criteria of intervention as a right” because Westlands’ contractual rights are not sufficiently

related to the relief requested by Plaintiff and because “Westlands would still have the

opportunity to protect its rights” without being granted intervenor status in the case. Id. at 12.

Furthermore, the Court found that permissive intervention is unwarranted because “Westlands

has not demonstrated that Federal Defendants are incapable or unwilling to make all available

arguments in support of their common objectives, or that the applicants will contribute some

element necessary to the adjudication of this case that would otherwise be omitted.” Id. at 13

(internal quotation omitted). Due to the substantial similarity of this case with the California

case, Judge Spero’s order is further support for denying Westlands Water District’s Motion.

Dated: August 6, 2021                          Respectfully submitted,

                                               TODD KIM,
                                               Assistant Attorney General
                                               SETH M. BARSKY, Section Chief
                                               MEREDITH L. FLAX, Assistant Section Chief

                                               /s/ Taylor A. Mayhall
                                               TAYLOR A. MAYHALL
                                               Trial Attorney, MN Bar No. 0400172
                                               United States Department of Justice
                                               Environment & Natural Resources Division
                                               Wildlife & Marine Resources Section
                                               P.O. Box 7611
                                               Washington, DC 20044-7611
                                               Tel: (202) 598-3796
                                               Email: taylor.mayhall@usdoj.gov

                                               Attorneys for Federal Defendants

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